         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2023-2189
                   LT Case No. 2020-DR-2148
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RAYMOND EVANS,

    Appellant,

    v.

JULIANA EVANS,

    Appellee.
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On appeal from the Circuit Court for Hernando County.
Thomas R. Eineman, Judge.

Raymond Evans, Brooksville, pro se.

Kimberly A. Scarano, of Jeffrey P. Cario, P.A., Brooksville, for
Appellee.

                         August 27, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, BOATWRIGHT, and KILBANE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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